     Case 2:05-cr-00126-RHW        ECF No. 1114    filed 11/27/06   PageID.6487 Page 1 of 2



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 6                             UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF WASHINGTON
 7
 8    UNITED STATES OF AMERICA,

 9              Plaintiff,                          NO. CR-05-126-RHW-2

10              v.
                                                    ORDER GRANTING THE
11    JOSE LUIS CARRILLO-MENDEZ,                    GOVERNMENT’S MOTION TO
                                                    DISMISS COUNTS WITHOUT
12              Defendant.                          PREJUDICE

13
           Before the Court is the Government’s Motion to Dismiss Counts Without
14
     Prejudice (Ct. Rec. 1105). The motion was heard without oral argument. Pursuant to
15
     the plea agreement, the Government moves to dismiss without prejudice counts 4-10,
16
     12-16, 18, 21, 24-26, 28, 31, 32, 34, 36-38, 40-44, 56-58, 65, 74, 75, 83, 90-93 alleged
17
     in the Superseding Indictment.
18
           Accordingly, IT IS HEREBY ORDERED:
19
           1.        The Government’s Motion to Dismiss Counts Without Prejudice (Ct. Rec.
20
     1105) is GRANTED.
21
           2.        The following counts are dismissed without prejudice:
22
           a.        Counts 4, 6, 7, and 9, charging Defendant with Distribution of a mixture or
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                     substance containing a detectable amount of Cocaine, in violation of 21
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                     U.S.C. § 841(a)(1);
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           b.        Counts 5 and 12, charging Defendant with Distribution of five (5) grams or
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                     more of “actual” Methamphetamine, in violation of 21 U.S.C. § 841(a)(1);
27
           c.        Counts 8, 10, 13, 14, and 15, charging Defendant with Distribution of fifty
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                     (50) grams of more of “actual” Methamphetamine, in violation of 21
     ORDER GRANTING THE GOVERNMENT’S MOTION TO DISMISS COUNTS
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 1                    U.S.C. § 841(a)(1);
 2           d.       Count 16, charging Defendant with Possession with Intent to Distribute
 3                    five hundred (500) grams or more of a mixture or substance containing
 4                    Cocaine, in violation of 21 U.S.C. § 841(a)(1);
 5           e.       Count 18, charging Defendant with Possession with Intent to Distribute a
 6                    mixture or substance containing a detectable amount of Cocaine, in
 7                    violation of 21 U.S.C. § 841(a)(1);
 8           f.       Counts 21, 24, 25, 26, 28, 31, 32, 34, 36, 37, 38, 40, 41, 42, 43, 44, 56, 57,
 9                    58, 65, 74, 75, 83, 90, 91, and 92, charging Defendant with Use of a
10                    Communication Facility to Facilitate a Title 21 Drug Felony Offense, in
11                    violation of 21 U.S.C. § 843(b); and
12           g.       Count 93, alleging criminal forfeiture against Defendant, pursuant to 21
13                    U.S.C. § 853.
14           IT IS SO ORDERED. The District Court Executive is hereby directed to enter
15 this Order and to furnish copies to counsel.
16           DATED this 27th day of November, 2006.
17                                                s/ Robert H. Whaley
18
                                             ROBERT H. WHALEY
19                                       Chief United States District Judge
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     WITHOUT PREJUDICE ~ 2
